                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06CR031-12


UNITED STATES OF AMERICA,                          )
                                                   )
Vs.                                                )              ORDER
                                                   )
TRISTAN WHITESIDES,                                )
                                                   )
                  Defendant.                       )
________________________________________           )


        THIS CAUSE coming on to be heard and being heard before the undersigned, Dennis

L. Howell, United States Magistrate Judge for the Western District of North Carolina, upon

a motion filed by the defendant entitled, “Motion to Modify Conditions of Release” and it

appearing to the court at the call of this matter on for hearing that the defendant was present

with her attorney, David Belser, and that the Government was present through Assistant

United States Attorney, Corey Ellis.

         On April 20, 2006 the defendant appeared for an initial appearance before the

undersigned, pursuant to a bill of indictment that had been filed on April 4, 2006. In that bill

of indictment it is alleged that the defendant conspired with others to manufacture and

possess with intent to distribute methamphetamine, a Schedule II controlled substance. On

April 26, 2006 a detention hearing was held and at that time the undersigned entered an order

detaining the defendant for a period of between 45 to 90 days so that the defendant could

complete the Jail Based Inpatient Drug Treatment Program developed by the United States

Probation Office for the Western District of North Carolina. The undersigned further



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directed that upon successful completion of the program that the undersigned would then

reconsider the issue of the defendant’s detention.

       As of the date of the hearing in this matter, that being June 12, 2006, the defendant

has not been admitted to the Jail Based Inpatient Drug Treatment Program. Through her

counsel, the defendant requested that she be released to the custody of her parents and upon

such other terms and conditions of pretrial release as the court may establish and that

thereafter she be allowed to enter into the Jail Based Treatment Program when a place or

position was available to her. An examination of the United States Probation Pretrial

Services Report shows that in late January 2006 the defendant pled guilty to misdemeanor

drug offenses in McDowell County, North Carolina Criminal District Court. The defendant

was given a 45 day sentence which was suspended and the defendant was placed on

supervised probation. The defendant requested that she be allowed to serve the active

portion of her sentence. As a result, the defendant was incarcerated from the end of January

2006 until the last week of March 2006. The defendant was released for a period of four

days and then was arrested upon the bill of indictment for the charges presented in this file.

It would thus appear that there has been little opportunity for the defendant to use

methamphetamine for at least the period from the end of January 2006 until the present time.

After hearing this evidence and considering the information in the Pretrial Services Report

the undersigned then consulted with United States Probation Officer Angela Pickett. Officer

Pickett advised the court that the defendant was scheduled to begin treatment in the Jail

Based Treatment Program on Monday, June 19, 2006.


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       BASED UPON THE FOREGOING, the undersigned has determined to enter the

following Order:

                                         ORDER

       IT IS, THEREFORE, ORDERED that the defendant’s motion entitled, “Motion to

Modify Conditions of Release”, is hereby DENIED without prejudice. If the defendant is

not accepted into the Jail Based Treatment Program on June 19, 2006 the defendant will be

allowed to refile this motion and have it heard before the Judge presiding.




                                             Signed: June 15, 2006




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